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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION




UNITED STATES OF AMERICA                                                PLAINTIFF


VS.                                4:05cr305-37


JEFFERSON VANALLEN                                                      DEFENDANT(S)



                                        ORDER


       The government has filed a motion for revocation of conditions of bond and

for a warrant to be issued (doc #427). The motion for a warrant is GRANTED.

       The Clerk is directed to issue a warrant for the arrest of the defendant Jefferson

VanAllen. The United States Marshal is directed to bring the defendant before U.S.

Magistrate Judge John F. Forster, Jr. forthwith to show cause why his conditions of release

should not be revoked.

       IT IS SO ORDERED this 4th day of May 2006.



                                           /s/ John F. Forster, Jr.
                                         U.S. MAGISTRATE JUDGE
